Case 2:19-cv-08035-GW-SS Document 5 Filed 09/17/19 Page 1 of 5 Page ID #:19
Case 2:19-cv-08035-GW-SS Document 5 Filed 09/17/19 Page 2 of 5 Page ID #:20
Case 2:19-cv-08035-GW-SS Document 5 Filed 09/17/19 Page 3 of 5 Page ID #:21




       9/13/19
Case 2:19-cv-08035-GW-SS Document 5 Filed 09/17/19 Page 4 of 5 Page ID #:22
Case 2:19-cv-08035-GW-SS Document 5 Filed 09/17/19 Page 5 of 5 Page ID #:23
